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                             14   Attorneys for Debtors
                                  and Debtors in Possession
                             15
                                                              UNITED STATES BANKRUPTCY COURT
                             16
                                                              NORTHERN DISTRICT OF CALIFORNIA
                             17                                       SAN FRANCISCO DIVISION
                             18
                                   In re:                                         Bankruptcy Case No. 19-30088 (DM)
                             19
                                   PG&E CORPORATION,                              Chapter 11
                             20
                                            - and –                               (Lead Case)
                             21
                                   PACIFIC GAS AND ELECTRIC                       (Jointly Administered
                             22    COMPANY,
                                                                                  CERTIFICATE OF NO OBJECTION
                             23                                   Debtors.        REGARDING SECOND MONTHLY FEE
                                                                                  STATEMENT OF WEIL, GOTSHAL &
                             24     Affects PG&E Corporation                     MANGES LLP FOR ALLOWANCE AND
                                    Affects Pacific Gas and Electric             PAYMENT OF COMPENSATION AND
                             25    Company                                        REIMBURSEMENT OF EXPENSES FOR THE
                                    Affects both Debtors                         PERIOD OF MARCH 1, 2019 THROUGH
                             26                                                   MARCH 31, 2019
                                   * All papers shall be filed in the Lead Case
                             27    No. 19-30088 (DM).                             [Re: Dkt. No: 2418]

                             28                                                  Objection Deadline: June 26, 2019
                                                                                                   4:00 p.m. (Pacific Time)
                              Case: 19-30088          Doc# 3183   Filed: 07/24/19 Entered: 07/24/19 17:58:04 Page 1 of
                                                                              4
                              1          On June 5, 2019, Weil, Gotshal & Manges LLP (“Weil” or the “Applicant”), attorneys for PG&E

                              2   Corporation and Pacific Gas and Electric Company (the “Debtors”), filed its Second Monthly Fee

                              3   Statement of Weil, Gotshal & Manges LLP for Allowance and Payment of Compensation and

                              4   Reimbursement of Expenses for the Period of March 1, 2019 through March 31, 2019 [Dkt. No. 2418]

                              5   (the “Monthly Fee Statement”), pursuant to the Order Pursuant to 11 U.S.C §§ 331 and 105(a) and

                              6   Fed. R. Bankr. P. 2016 for Authority to Establish Procedures for Interim Compensation and

                              7   Reimbursement of Expenses of Professionals entered on February 27, 2019 [Dkt. No. 701] (the “Interim

                              8   Compensation Procedures Order”).

                              9          The Monthly Fee Statement was served as described in the Certificate of Service of Alain B.

                             10   Francoeur filed on June 10, 2019 [Dkt. No. 2467]. The deadline to file responses or oppositions to the

                             11   Monthly Fee Statement was June 26, 2019, and no oppositions or responses have been filed with the

                             12   Court or received by the Applicant. Pursuant to the Interim Compensation Procedures Order, the Debtors
Weil, Gotshal & Manges LLP

 New York, NY 10153-0119




                             13   are authorized to pay the Applicant eighty percent (80%) of the fees and one hundred percent (100%) of
      767 Fifth Avenue




                             14   the expenses requested in the Monthly Fee Statement upon the filing of this certification without the

                             15   need for a further order of the Court. A summary of the fees and expenses sought by the Applicant is

                             16   annexed hereto as Exhibit A.

                             17   DECLARATION OF NO RESPONSE RECEIVED

                             18   The undersigned hereby declares, pursuant to 28 U.S.C. § 1746, under penalty of perjury, that:

                             19      1. I am counsel to the firm of Weil, Gotshal & Manges LLP, attorneys for the Debtors.

                             20      2. I certify that I have reviewed the Court’s docket in these Chapter 11 Cases and have not

                             21          received any response or opposition to the Monthly Fee Statement.

                             22      3. This declaration was executed in New York, New York.

                             23          Dated: July 24, 2019

                             24                                               WEIL, GOTSHAL & MANGES LLP
                                                                              KELLER & BENVENUTTI LLP
                             25
                                                                              By:     /s/ Matthew P. Goren
                             26                                                       Matthew P. Goren (pro hac vice)
                             27
                                                                              Attorneys for Debtors and Debtors in Possession
                             28

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                                                                             4
                              1                                                    Exhibit A

                              2                           Monthly Fee Statement – Professional Fees and Expenses
                              3
                                  Applicant      Fee         Total Fees      Total      Objection    Amount of       Amount of      Amount of
                                              Application    Requested     Expenses     Deadline         Fees         Expenses      Holdback
                              4                Period,                     Requested                Authorized to   Authorized to     Fees
                                                Filing                                                 be Paid         be Paid      Requested
                              5                 Date,                                                Pursuant to     Pursuant to
                                              Docket No.                                               Interim         Interim
                              6                                                                     Comp. Order     Comp. Order
                                                                                                        (80%)          (100%)
                              7     Weil,     03/01/19 – $3,035,057.25    $109,952.64   06/26/19    $2,428,045.80   $109,952.64     $607,011.45
                                  Gotshal &    03/31/19
                              8    Manges
                                    LLP        06/05/19
                              9
                                               [Dkt. No.
                             10                  2418]

                             11

                             12
Weil, Gotshal & Manges LLP

 New York, NY 10153-0119




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      767 Fifth Avenue




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                                                                               4
                              1                                              Notice Parties

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                              8   The Office of the United States Trustee for Region 17
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                             11   Milbank LLP
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                             12         Sam A. Khalil, Esq.
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                                  Cecily Dumas, Esq.
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                             20

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